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        United States v. Patrik Mathews
              Case No. TDC-20-0033




                         Exhibit 1
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                   DEFENDANTS’ PROPORTIONALITY CHART OF RELEVANT CASES

                                     CASES INVOLVING RELATIVELY PROPORTIONATE CONDUCT


 Case
                 Defendant               Charge(s)                                          Key Facts                                              Disposition
Number


20-cr-48        Cody Griggers          Possession of          • Georgia Sheriff’s Deputy who was a member of a white                       Pled guilty to Possession of
                                       Unregistered             supremacist group called “Shadow Moses”                                    Unregistered Firearm in
(M.D.                                  Firearm in                                                                                          violation of 26 U.S.C. § 5841
Georgia)                               violation of 26        • “Shadow Moses” group discussed militia-type prepping,
                                       U.S.C. § 5841            including weapons, combat gear, and survivalist techniques. 1              Sentence:
                                                              • Boasted about beating a Black man during an arrest, calling it             44 months incarceration, 1-
                                                                “sweet stress relief,” and advocated killing politicians and               year supervised release 3
                                                                others he viewed as political enemies. Used racial slurs, slurs
                                                                against homosexuals, and positive references to Holocaust.
                                                              • Spoke in group chats about planning for a civil war and hoped
                                                                to recruit members of military and law enforcement. Spoke of
                                                                killing liberal politicians: “would be better with a machete.”
                                                              • Said in group text that he was manufacturing and acquiring
                                                                illegal firearms, explosives, and suppressors.
                                                              • Search of Mr. Griggers’ home resulted in seizure of 11 firearms
                                                                included machinegun with obliterated serial number and
                                                                unregistered short-barreled shotgun. 2
                                                              • Offered to provide law enforcement ammunition and
                                                                explosives to other “Shadow Moses” member.
                                                              • Discussed obtaining prescription medications and distributing
                                                                them to fellow “Shadow Moses” members.




1
  Criminal Complaint, p. 5.
2
  Katie Shepherd, Sheriff’s deputy boasted to extremists about beating Black man, called it ‘sweet stress relief,’ feds say, Washington Post, April 30, 2021,
https://www.washingtonpost.com/nation/2021/04/30/cody-griggers-georgia-extremist-racism/.
3
  Judgment, ECF No. 53

                                                                                                                                                                      1
                                  Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 3 of 21

20-cr-2451     Grey Zamudio          Possession of         • Member of white supremacist group called “Shadow Moses”                Pled guilty to Possession of
                                     Firearms in                                                                                    Unregistered Rifle and Two
(S.D.                                Violation of 26       • Wrote text messages including: “I’m really hoping to get to kill       Unregistered Silencers
California)                          U.S.C. § 5861           someone finally. Get a murder boner” and “got to pull my
                                                             Glock on a n****(racial epithet) last Thursday, and                    Sentence:
                                                             “assassinate the bad politicians.”                                     24 months imprisonment, 3
                                                           • Wrote several Facebook posts, including: “The only good                years supervised release 6
                                                             liberal is a dead liberal.” 4 “I’m ready to die, I welcome
                                                             Valhalla,” and “[I]t’s up to vigilantie militia to crush the liberal
                                                             terrorists [sic].”
                                                           • Posted videos of himself in desert practicing reloading
                                                             weapons and shooting while running. Could be seen wearing
                                                             bulletproof vest and Kevlar helmet.
                                                           • Possessed two rifles, two silencers, two pistols, a large number
                                                             of magazines, and several hundred to several thousand rounds
                                                             of ammunition. 5


21-cr-173      Richard Tobin         Conspiracy            • Member of the Base                                                     Pled guilty to Conspiracy
                                     Against Rights in                                                                              Against Rights in violation of
(D. New                              violation of 18       • Attended at least one Base “training camp” and was included            18 U.S.C. § 241
Jersey)                              U.S.C. § 241            in propaganda photograph holding weapon.
                                                           • Directed others to vandalize properties owned by minorities            Sentence:
                                                             and Jews, referring to plan as “Operation Kristallnacht” 7             Not yet sentenced. Plea
                                                                                                                                    agreement contemplates
                                                           • Told agents he considered “suicide by cop,” that if “failure was       total adjusted offense level of
                                                             imminent” he would “go out in a blaze of glory,” and believed          13. Range would be 12-18
                                                             carrying out suicide bombing would be “pretty badass”. 8               months assuming CH I. 9
                                                           • Had manuals about creating plastic explosives and truck
                                                             bombs and said carrying out bombing like Oklahoma City
                                                             would be “pretty straightforward.”
                                                           • Described contemplating “letting loose” with machete on
                                                             groups of African-Americans




4
  U.S.D.O.J. Press Release, August 16, 2021, https://www.justice.gov/usao-sdca/pr/san-diego-resident-sentenced-firearms-charges
5
  Criminal Complaint, p. 3.
6
  Judgment, ECF No. 49

                                                                                                                                                                 2
                                 Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 4 of 21

20-cr-26       Yousef Barasneh      Conspiracy            • Member of the Base                                                     Pled guilty to Conspiracy
                                    Against Rights in                                                                              Against Rights in violation of
(E.D.                               violation of 18       • Vandalized synagogue in Wisconsin with anti-Semitic graffiti.          18 U.S.C. § 241
Wisconsin                           U.S.C. § 241          • Attended at least two Base “training camps,” including one
                                                            attended by Lemley and Mathews in Georgia.                             Sentence:
                                                                                                                                   Not yet sentenced. Plea
                                                          • Communicated online about committing violence against                  agreement contemplates
                                                            Jewish-American and non-white Americans and about ways to              total adjusted offense level of
                                                            make improvised explosive devices. 10                                  13. Range would be 12-18
                                                                                                                                   months assuming CH I. 11


19-cr-232      Conor Climo          Possession of an      • Active member of the Feuerkrieg Division—an offshoot of                Pled guilty to Illegal
                                    Unregistered            violent neo-Nazi group Atomwaffen Division.                            Possession of an
(D.                                 Firearm 12                                                                                     Unregistered Firearm in
Nevada)                                                   • Used encrypted web-based chat platform, Wire, to evade law             violation of 18 U.S.C. §
                                                            enforcement.                                                           5845(f). 15
                                                          • Expressed hatred of Jews, African- Americans, and
                                                            homosexuals.                                                           Sentence:
                                                                                                                                   24 months imprisonment, 6
                                                          • Planned to firebomb a synagogue or attack a Las Vegas bar              months home confinement,
                                                            with a LGBTQ clientele.                                                3 years supervised release.
                                                          • Solicited surveillance of a synagogue near his home.
                                                          • Had sketched attack plans for attacking patrons of a bar and a
                                                            McDonald’s. 13
                                                          • Possessed components for bomb-making and two rifles. 14




7
  Complaint, ECF No. 1
8
  Criminal Complaint, p. 7
9
  Plea Agreement, ECF No. 49
10
   Plea Agreement, ECF No. 31
11
   Id.
12
   Indictment, ECF No. 13.
13
   Detention Order, ECF No. 7.
14
   Ken Ritter and Michael Kunzelman, White Supremacist Sentenced to 2 years in Bomb Plot Case, AP News (Nov. 13, 2020), https://apnews.com/article/race-and-
ethnicity-las-vegas-arrests-772ce6627abfa1d80edaa7a0f7291214
15
   Plea Agreement, ECF No. 25.

                                                                                                                                                                3
                                 Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 5 of 21

17-cr-283      Brandon Russell      Unlawful Receipt     • Member of Atomwaffen Division and Florida National Guard.           Pled guilty to both counts
                                    of Firearm in
(M.D.                               Violation of 26      • Leased apartment where fellow Atomwaffen member killed              Sentence:
Florida)                            U.S.C. § 5861(d)       two people. 16                                                      60 months imprisonment, 3
                                                         • Participated in online neo-Nazi chat rooms where he                 years supervised release
                                    Possession of          threatened to kill people and bomb infrastructure.
                                    Explosive
                                    Material in          • Search of home and garage resulted in recovery of explosive
                                    violation of 18        precursors, including substances that had been used by
                                    U.S.C. § 842           terrorist groups and Timothy McVeigh, as well as two
                                                           radioactive substances. 17 Also possessed electric matches and
                                                           empty ammunition casings with fuses that could be used to
                                                           detonate destructive devices.
                                                         • Had framed picture of McVeigh in his bedroom, Neo-Nazi
                                                           propaganda, and firearms.
                                                         • Was subsequently arrested in car containing assault rifles,
                                                           body armor, and more than 1000 rounds of ammunition.


19-cr-         Jarrett Smith        Distribution of      • U.S. Army infantry soldier associated with neo-Nazi                 Pled guilty to Distribution of
40091                               Information            Feuerkrieg Division which advocates for race war.                   Information Related to
                                    Related to                                                                                 Explosives in violation of 18
(D. Kansas)                                              • Provided information about making explosives to FBI
                                    Explosives in                                                                              U.S.C. §842(p)(2)(A)
                                    violation of 18        undercover and admitted he intended it to be used.
                                    U.S.C.               • Planned to overthrow government, with attacking news                Sentence:
                                    §842(p)(2)(A)          organization as first step. Told FBI agent that his goal was to     30 months imprisonment
                                                           create “chaos.”                                                     and 3 years supervised
                                    Threatening                                                                                release
                                    Interstate           • Spoke with informant about conducting attack within United
                                    Communication          States, about killing members of Antifa and destroying nearby
                                    in violation of 18     cell towers or local news station. 18
                                    U.S.C. § 875(c)      • Spoke to others about desire to travel to Ukraine to fight with
                                                           “violent, far-right paramilitary group.”




16
   Criminal Complaint, p. 2.
17
   Niraj Chokshi, Neo-Nazi Leader in Florida Sentenced to 5 Years Over Homemade Explosive, New York Times, January 10, 2018,
https://www.nytimes.com/2018/01/10/us/brandon-russell-sentenced-neo-nazi.html.
18
   Criminal Complaint, p. 3.

                                                                                                                                                            4
                           Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 6 of 21

19-cr-130   Aiden Bruce-     Possession of        • Member of Atomwaffen Division                                    Pled guilty to Possession of
            Umbaugh          Firearms and                                                                            Firearms and Ammunition
(N.D.                        Ammunition by        • Participated in “hate camps” involving practicing hand-to-       by Unlawful User of
Texas)                       Unlawful User of       hand combat and shooting firearms.                               Controlled Substance in
                             Controlled           • Officers performing routine car stop noticed Bruce-Umbaugh       violation of 18 U.S.C.
                             Substance in           was wearing combat/tactical attire and located several           §922(g)(3)
                             violation of 18        weapons, including 9mm pistol, Ar-15 rifle, AK-47, semi-
                             U.S.C. §922(g)(3)      automatic rifle, and more than 1,500 rounds of ammunition in     Sentence:
                                                    vehicle.                                                         30 months imprisonment
                                                                                                                     and 3 years supervised
                                                  • Traveled to Germany with other Atomwaffen member and             release.
                                                    took photos at Auschwitz. 19


19-cr-337   Andrew           False Statements     • Virginia leader of Atomwaffen Division who also sought           Pled guilty to both counts
            Thomasberg       in Firearms            membership in another white supremacist group called
(E.D.                        Purchase in            Patriot Front.                                                   Sentence:
Virginia)                    violation of 18                                                                         One year and one day
                             U.S.C.               • Urged violence in hopes of starting race war and praised         imprisonment
                             § 922(a)(6)            Dylann Roof, telling agents: “What he did, that took balls.”
                                                  • Referred to mass murderers as “saints” and claimed he had
                             Possession of          begun shouting racial slurs and Black people in hopes of
                             Firearms by an         confrontation.
                             Illegal Drug User
                             in violation of 18   • Possessed more than 12 firearms and more than 50
                             U.S.C. §               magazines 20
                             922(g)(3)


20-cr-154   John Denton      Conspiracy to        • Leader of Atomwaffen Division                                    Pled guilty to Conspiracy to
                             Transmit                                                                                Transmit Interstate Threats
(E.D.                        Interstate Threats   • Part of “the most widespread swatting conspiracy in the          to Injure in violation of 18
Virginia)                    to Injure in           country”, involving making fake bomb and hostage threats at      U.S.c. § 371
                             violation of 18        homes and businesses of hundreds of victims to provoke
                             U.S.c. § 371           overwhelming law enforcement response                            Sentence:
                                                  • Met with other members for “hate   camps” 21                     41 months imprisonment
                                                                                                                     and 3 years supervised
                                                  • Among other victims, targeted reporter by calling fake hostage   release
                                                    situation at his news’ organization’s office, forcing staff to
                                                    evacuate; and targeting his home, where he and his wife were
                                                    handcuffed and separated from their 9-year-old son in middle
                                                    of the night



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20-cr-32       Cameron Shea         Conspiracy to         • High-level member and primary recruiter for Atomwaffen                Pled guilty to Conspiracy to
                                    Mail Threatening        Division                                                              Mail Threatening
(W.D.                               Communications                                                                                Communications and
Wash.)                              and                   • Coordinated “hate camp” where members trained in hand-to-             Cyberstalking in violation of
                                    Cyberstalking in        hand combat, firearms, and created neo-Nazi propaganda                18 U.S.C. § 371 and
                                    violation of 18         photos and videos                                                     Interfering with Federally
                                    U.S.C. § 371          • Conspired in encrypted online chat group to identify                  Protected Activities in
                                                            journalists and advocates to threaten in retaliation for their        Violation of 18 U.S.C. § 245
                                                            work exposing anti-Semitism.
                                                                                                                                  Sentence:
                                                          • Created posters featuring Nazi symbols, masked figures with           36 months imprisonment
                                                            guns and Molotov cocktails and threatening messages which             and 3 years supervised
                                                            were delivered to homes of victims in several cities and mailed       release 22
                                                            to other victims.


18-cr0-338     Jeffrey Clark        Possession of         • Tied to Atomwaffen Division                                           Pled guilty to possession of
                                    Firearm by User                                                                               firearm by user or addict
(D. D.C.)                           or Addict in          • Openly “fantasized about killing ‘Jews and blacks.”
                                    violation of 18       • Praised Pittsburgh synagogue shooter and was connected to             Sentence:
                                    U.S.C. §                him on social media 23                                                Ten months imprisonment 24
                                    922(g)(3)
                                                          • Openly expressed admiration for Dylann Roof, Timothy
                                                            McVeigh, and Ted Kaczynski and described himself as “meth-
                                                            smoking, pipebomb making, mailman-murdering …
                                                            #DemoKKKrat.”
                                                          • Attended “Unite the Right” rally in Charlottesville
                                                          • Search of residence revealed body armor and helmets, hollow-
                                                            point ammunition, and expressions of violent ideology.




19
   Asher Stockler, Alleged Neo-Nazi Charged with Illegal Possession of Semi-Automatic Rifles, Thousands of Rounds of Ammunition, Newsweek, Nov. 15, 2019,
https://www.newsweek.com/aiden-bruce-umbaugh-neo-nazi-firearms-1472083.
20
   Government Sentencing Memorandum
21
   Rachel Weiner, Former leader of neo-Nazi Atomwaffen group sentenced for swatting, Washington Post, May 4, 2021, https://www.washingtonpost.com/local/legal-
issues/atomwaffen-leader-prison-sentence/2021/05/04/95544e16-a14b-11eb-a7ee-949c574a09ac_story.html.
22
   Judgment, ECF No. 204
23
   U.S. Detention Motion, ECF No. 5
24
   Judgment, ECF No. 24

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19-cr-232     Brian Baynes         18 U.S.C.             • Defendant had paraphernalia associated with Atomwaffen            Pled guilty to possession of
                                   §922(g)(3)              Division, a “neo-Nazi group linked to several killings.”          firearm by user or addict
(E.D.                              Possession of
Virginia)                          Firearm by User                                                                           Sentence:
                                   or Addict                                                                                 Two years’ probation; 30
                                                                                                                             days intermittent
                                                                                                                             confinement

18-cr-25      Benjamin Daley        18 U.S.C. § 371:     • Member of the “Rise Above Movement” (RAM), a militant             Pled guilty to one count of
                                    Conspiracy to          white-supremacist organization.                                   conspiracy to riot.
(W.D.                               Commit an
Virginia)                           Offense Against      • Attended hand-to-hand and other combat training held by           Sentence:
                                    the United States      RAM to prepare for violence.                                      37 months imprisonment, 2
                                                         • Attended several rallies in California with the intent to cause   years supervised release. 27
                                                           violence and traveled from California to Charlottesville, VA to
                                   18 U.S.C. § 2101:       engage in acts of violence at the Unite the Right rally. 26
                                   Travel with
                                   Intent to Riot 25     • Committed multiple acts of violence against counter
                                                           protestors which resulted in serious injuries.


18-cr-25      Michael Miselis      18 U.S.C. § 371:      • Member of the “Rise Above Movement” (RAM), a militant             Pled guilty to one count of
                                   Conspiracy to           white-supremacist organization.                                   conspiracy to riot.
(W.D.                              Commit an
Virginia)                          Offense Against       • Attended hand-to-hand and other combat training held by           Sentence:
                                   the United States       RAM to prepare for violence.                                      27 months imprisonment, 2
                                                         • Attended several rallies in California with the intent to cause   years supervised release. 28
                                   18 U.S.C. § 2101:       violence.
                                   Travel with
                                   Intent to Riot        • Traveled from California to Charlottesville, VA to engage in
                                                           acts of violence at the Unite the Right rally.
                                                         • Committed multiple acts of violence against counter
                                                           protestors which resulted in serious injuries.




25
   Indictment ECF No. 8.
26
   Government’s Sentencing Memorandum ECF #142 See photographs of Daley’s violent involvement during rallies.
27
   Sentencing ECF No. 149.
28
   Judgment ECF No. 161.

                                                                                                                                                            7
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18-cr-25       Thomas Gillen         18 U.S.C. § 371:       • Member of the “Rise Above Movement” (RAM), a militant                    Pled guilty to one count of
                                     Conspiracy to            white-supremacist organization.                                          conspiracy to riot.
(W.D.                                Commit an
Virginia)                            Offense Against        • Attended hand-to-hand and other combat training held by                  Sentence:
                                     the United States        RAM to prepare for violence.                                             33 months imprisonment, 2
                                                            • Attended several rallies in California with the intent to                years supervised release. 29
                                     18 U.S.C. § 2101:        provoke violence.
                                     Travel with
                                     Intent to Riot         • Traveled from California to Charlottesville, VA to engage in
                                                              acts of violence at the Unite the Right rally.
                                                            • Committed multiple acts of violence against counter
                                                              protestors which resulted in serious injuries.


20-cr-158      Bradley Bunn          Making firearms        • Former U.S. Army soldier diagnosed with PTSD after Iraq                  Pled guilty to all counts
                                     in violation of          war. 30
(D.                                  NFA in violation                                                                                  Sentence:
Colorado)                            of 26 U.S.C.           • Possessed four pipe bombs and materials for construction of              Sentencing set for 10/13/21
                                     § 5861(f)                more bombs.                                                              Plea agreement provides
                                                            • Was opposed to restrictions on gun rights and said he would              total offense level is 19 and
                                     Four counts of           be willing to “take out a few law enforcement officers in order          government agrees to
                                     possessing an            to wake people up to what’s going on.”                                   recommend sentence within
                                     unregistered                                                                                      range. Range would be 30-
                                     firearm                • Told police he would “fight to the death” anyone who tried to            37 months assuming CHC
                                     destructive device       disarm him and had started to “gear up.”                                 I. 31
                                     in violation of 26
                                                            • Relative reported that Bunn sent a text day before his arrest
                                     U.S.C. § 5841
                                                              saying he did not think he had long to live.




29
   Judgment, ECF No. 159.
30
   Austin Fleskes, Loveland man pleads guilty in pipe-bomb case; sentencing set for June, Loveland Reporter-Herald, March 4, 2021, available at
https://www.reporterherald.com/2021/03/04/loveland-man-pleads-guilty-in-pipe-bomb-case-sentencing-set-for-june/
31
   Plea agreement, ECF No. 78, pp. 9-10

                                                                                                                                                                     8
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19-cr-494      Justin Olsen         Threatening to      • Wrote online posts to more than 5,000 followers about              Pled guilty to Threatening to
                                    Assault a Federal     supporting mass shootings, attacks on Planned Parenthood,          Assault a Federal Law
(N.D. Ohio)                         Law Enforcement       and bombing gay bars.                                              Enforcement Officer in
                                    Officer in                                                                               violation of 18 U.S.C.
                                    violation of 18     • Wrote in online post: “Shoot ever federal agent on sight.” 32      § 115(a)(1)(B)
                                    U.S.C.              • Search of home revealed 15 rifles, 10 semi-automatic pistols,
                                    § 115(a)(1)(B)        10,000 rounds of ammunition, and a machete 33                      Sentence:
                                                                                                                             3 years probation 34
                                    Interstate
                                    Communication
                                    Threat in
                                    violation of 18
                                    U.S.C. § 875(c)


20-cr-         James Dale           Threats to a        • Disseminated at least one letter that stated “if you are a         Pled guilty to Threats to a
0406-ELH       Reed                 Major Candidate       Biden/Harris supporter you will be targeted.”                      Major Candidate for Office
                                    for Office of                                                                            of President or Vice
(D. Md.)                            President or Vice   • Letter continued to make threats of violence against               President in violation of 18
                                    President in          supporters of Biden and Harris as well as death threats against    U.S.C. § 879
                                    violation of 18       Biden and Harris, Black Lives Matter, and Antifa. 35
                                    U.S.C. § 879        • Mr. Reed stated in writing that he intended to capture             Sentence:
                                                          President Biden “and beat him to the point of death.”              7 months incarceration and
                                                                                                                             4 months home detention,
                                                        • Mr. Reed also stated in writing, “as for Mrs. Harris she will be   which equated to time
                                                          bent over and anally raped by my rifle barrel.”                    served based on his pretrial
                                                                                                                             detention. 36
                                                        • Mr. Reed also stated in writing, “for the grand end [sic] both
                                                          will be executed on National Television.”
                                                        • Law enforcement located military gear, 2 grenades, four
                                                          firearms and a large amount of ammunition inside Mr. Reed’s
                                                          residence.




32
   Complaint, ECF No. 1
33
   Criminal Complaint, p. 7 .
34
   Judgment, ECF No. 44
35
   Complaint Affidavit, ECF No. 2
36
   Judgment, ECF No. 37

                                                                                                                                                            9
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21-cr-159      Cleveland             Communication         • Sent text messages to a relative threatening to shoot House             Pled guilty to Interstate
               Meredith, Jr.         of Threats; 18          Speaker Pelosi in the head on live television.                          Communication of Threats
(D. D.C.)                            U.S.C. § 875(c)                                                                                 in violation of 18 U.S.C. §
                                                           • Traveled from Colorado to Washington DC with an assault-                875(c).
                                     Possession of           style rifle with telescopic sight, Glock firearm, high-capacity
                                     Unregistered            magazines, and 2,500 rounds of ammunition.                              Sentence:
                                     Firearm; 7 D.C.       • Transmitted numerous communications threatening violence                Not sentenced to date.
                                     Code §2502.01(a)        in Washington, D.C. in the days leading up to the January 6th           Maximum sentence of 5
                                                             incident at the Capitol.                                                years imprisonment.
                                     Possession of                                                                                   Estimated Offense Level is 15
                                     Unregistered                                                                                    or 10. 39
                                                           • Committed an unprovoked assault on a pedestrian shortly
                                     Ammunition; 7
                                                             after arrival in DC. 38
                                     D.C. Code §
                                     2506.01(a)(3)

                                     Possession of
                                     Large Capacity
                                     Ammunition
                                     Feeding Devices;
                                     7 D.C. Code §
                                     2506.01(b) 37


20-cr-         Frank Robertson       Possession of a       • Member of the “Boogaloo Movement.”                                      Pled guilty to Possession of a
2579-TMB       Perry                 firearm by a                                                                                    firearm by a prohibited
                                     prohibited person     • Instructed his girlfriend to purchase the lower receiver for an         person in violation of 18
(D. Md.)                             in violation of 18      AR-15 knowing that he was a prohibited person. 40                       U.S.C. § 922(g)(1).
                                     U.S.C. § 922(g)(1)    • Ordered upper receiver and remaining parts to AR-15 on
                                                             Amazon and assembled it and was observed wearing body                   Sentence:
                                                             armor with the AR-15 strapped around his shoulder.                      Time served and 6 months
                                                                                                                                     home confinement. 41
                                                           • Had a prior offense for second-degree burglary in 2012.




37
   Indictment, ECF No. 17.
38
   Memorandum in Support of Pretrial Detention, ECF No. 4.
39
   Plea Agreement, ECF No. 46.
40
   CBS Baltimore, Far-Right Boogaloo Movement Follower Frank Perry Pleads Guilty To Illegal Firearm Possession In Maryland, available at
https://baltimore.cbslocal.com/2021/03/10/far-right-boogaloo-movement-follower-frank-perry-pleads-guilty-to-illegal-firearm-possession-in-maryland/
41
   Judgment, ECF No. 61

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19-cr-172      Jabari Devon         18 U.S.C. §           • Government labeled Davis a domestic terrorist. 43                     Sentence:
               Davis                844(f):                                                                                       30 months imprisonment
(E.D. North                         Maliciously           • Attempted to set fire to a marked police vehicle during a rally       and 2 years supervised
Carolina)                           Attempted               for the death of George Floyd.                                        release.
                                    Damage by
                                    Means of Fire to a
                                    Vehicle Owned by
                                    the City of
                                    Raleigh which
                                    Receives Federal
                                    Financial
                                    Assistance 42


19-cr-576      James Reardon        Transmitting a        • Posted video of himself holding an assault rifle and saying           Pled guilty to both counts
                                    Threatening             “fuck a life”. Held rifle in firing positions with audio of
(N.D. Ohio)                         Communication           gunshots and sounds of people screaming and included                  Sentence:
                                    in violation of 18      caption threatening to commit mass shooting at Jewish                 41 months imprisonment
                                    U.S.C. § 875(c)         community center. 44                                                  and 5 years supervised
                                                                                                                                  release 45
                                    Possession of a       • Espoused creation of white “ethno-state.”
                                    Firearm in            • Possessed sub-machine gun, AR-15 assault rifle, and Nazi
                                    Furtherance of a        posters.
                                    Crime of Violence
                                    in violation of 18
                                    U.S.C. §
                                    924(c)(1)(A)




42
   Judgment, ECF No. 300.
43
   See Domestic Terrorist Sentenced for Attempting to Set Fire to Raleigh Police Department Vehicle | USAO-EDNC | Department of Justice
44
   Complaint, ECF No. 1
45
   Judgment, ECF No. 65

                                                                                                                                                               11
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21-cr-          Paul Nicholas      Possession of a      • Livestreamed to thousands of social media followers wearing       Pled guilty to all three
60067           Miller             Firearm by a           Nazi regalia and bulletproof vest while brandishing firearms      counts.
                                   Felon in violation     and knives. Made graphic threats of violence. 46
(S.D.                              of 18 U.S.C. §                                                                           Sentencing
Florida)                           922(g)               • Advocated civil war and collapse of existing order and spoke of   41 months imprisonment, 3
                                                          becoming a martyr if arrested.                                    years supervised release 47
                                   Possession of        • Had to be removed from home by SWAT team using stun
                                   Ammunition by a        grenades.
                                   Convicted Felon
                                   in violation of 18   • Possessed unregistered short-barrel rifle, handgun, combat
                                   U.S.C. § 922(g)        knife, tactical vest with body armor inserts, more than 800
                                                          rounds of ammunition despite having multiple prior felony
                                   Possession of an       convictions.
                                   Unregistered
                                   Firearm in
                                   violation of 26
                                   U.S.C. § 5861(d)




46
     Government Sentencing Memorandum, ECF No. 46
47
     Judgment, ECF No. 62

                                                                                                                                                       12
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                                              JANUARY 6, 2021 U.S. CAPITOL BREACH CASES


 Case
                 Defendant             Charge(s)                                       Key Facts                                           Disposition
Number


 21-cr-41       Michael             Disorderly and         • Participated in Capitol riot.                                          Pled guilty to single count of
                Thomas Curzio       Disruptive                                                                                      Parading, Demonstrating, or
 (D. D.C.)                          Conduct in a           • Prior attempted murder conviction. 48                                  Picketing in a Capitol
                                    Restricted             • Previously joined a white supremacist organization while               Building in violation of Title
                                    Building; Violent        incarcerated.                                                          40, United States Code,
                                    Entry and                                                                                       Section 5104(e)(2)(G). 50
                                    Disorderly             • Refused to leave Capitol when instructed by law
                                    Conduct in a             enforcement. 49                                                        Sentence:
                                    Capitol Building;                                                                               6 months imprisonment,
                                    Parading,                                                                                       equating to time served
                                    Demonstrating,                                                                                  based on his pre-trial
                                    or Picketing in a                                                                               detention, and $500
                                    Capitol Building                                                                                restitution.


 21-cr-188      Paul Allard         Obstructing or         • Participated in the Capitol Riot.                                      Pled guilty to Obstruction of
 (D. D.C.)      Hodgkins            Impeding Any                                                                                    an Official Proceeding in
                                    Official               • Protested in the well of the Senate Chamber raising a red              violation of 18 U.S.C. $
                                    Proceeding and           “Trump” flag.                                                          1512(c)(2).
                                    Aiding and             • Carried eye goggles and latex gloves in his backpack, donning
                                    Abetting;                them as he walked among the desks in the Senate Chamber. 51            Sentence:
                                    Entering and                                                                                    8 months imprisonment,
                                    Remaining in a                                                                                  $2,000 restitution, 2 years
                                    Restricted                                                                                      supervised release. 52
                                    Building;
                                    Disorderly and
                                    Disruptive
                                    Conduct in a
                                    Restricted
                                    Building




48
  Marshall Cohen, Capitol Rioter with Ties to White Supremacist Gang Pleads Guilty and is Sentenced to 6 Months in Jail with Credit for Time Serve, CNN (Jul. 12,
2021, 3:55pm), https://www.cnn.com/2021/07/12/politics/rioter-six-month-sentence-michael-curzio/index.html.

                                                                                                                                                                    13
                                Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 15 of 21

 21-cr-3       Jacob Anthony           18 U.S.C. §         • Member of active conspiracy group, “QAnon” known as               Pled guilty to Obstruction of
               Chansley                231(a)(3): Civil      “QAnon Shaman”                                                    an Official Proceeding in
 (D. D.C.)                             Disorder; 18                                                                            violation of 18 U.S.C. §
                                       U.S.C. §            • Carried a 6-foot spear into the Capitol and onto dais in          1512{c)(2).
                                       1512{c)(2):           chamber. 53
                                       Obstruction of      • Challenged the direct orders of Capitol Police Officer to leave   Sentence:
                                       Proceeding; 18        the building when met on the 2nd floor of Senate staircase.       Not yet sentenced following
                                       U.S.C. § l            Instead ascended to the 3rd floor.                                guilty plea. Estimated
                                       752(a)(l):                                                                              Offense Level is 22. 55
                                       Entering a          • Used his bullhorn in the Senate dais to thank rioters for the
                                       Restricted            opportunity “to allow us to send a message to all the tyrants,
                                       Building; 18          the communists, and the globalists, that this is our nation,
                                       U.S.C. §              not theirs, that we will not allow America, the American way
                                       1752(a)(2):           of the United States of America to go down.” 54
                                       Disorderly and
                                       Disruptive
                                       Conduct; 40
                                       U.S.C. §
                                       5104(e)(2)(A):
                                       Violent Entry and
                                       Disorderly
                                       Conduct in a
                                       Capitol Building;
                                       40 U.S.C. §
                                       5104(e)(2)(G):
                                       Parading,
                                       Demonstrating,
                                       or Picketing in a
                                       Capitol Building




49
   Statement of Offense, ECF No. 71.
50
   Judgment, ECF No. 73.
51
   Statement of Offense, ECF No. 23.
52
   Judgment, ECF No. 37.
53
   Statement of Offense, ECF No. 70
54
   Id.
55
   Plea Agreement, ECF No. 69.

                                                                                                                                                           14
                                 Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 16 of 21

 21-cr-28       Jason Dolan         18 U.S.C. § 371:       • Member of the “Oath Keepers” Militia.                           Pled guilty to Conspiracy, in
                                    (Conspiracy)                                                                             violation of 18 U.S.C. § 371,
 (D. D.C.)                                                 • Conspired with Oath Keeper affiliates to plan and participate   and Obstruction of an
                                    18 U.S.C. §              in stopping the Certification of the Electoral College vote.    Official Proceeding
                                    1512(c)(2):            • Drove from Florida to Washington, D.C. with a M4 rifle.         (Congress), in violation of 18
                                    Obstruction of an                                                                        U.S.C. § 1512(c)(2).
                                    Official               • Changed into paramilitary gear before participating in
                                    Proceeding and           January 6 operation.
                                    Aiding and
                                                           • Used secure and encrypted communications applications to
                                    Abetting) :                                                                              Sentence:
                                                             develop plans and communicate during January 6.
                                                                                                                             Not yet sentenced following
                                    18 U.S.C. § 1361,      • Repeatedly chanted, “Treason!” while inside the Capitol. 57     guilty plea. Estimated
                                    2: Destruction of                                                                        Offense Level is 26. Criminal
                                    Government                                                                               History I. 58
                                    Property and
                                    Aiding and
                                    Abetting

                                    18 U.S.C. §
                                    1752(a)(1):
                                    Entering and
                                    Remaining in
                                    Restricted
                                    Building or
                                    Grounds 56




56
   Indictment, ECF No. 196.
57
   Statement of Offense See https://www.justice.gov/usao-dc/case-multi-defendant/file/1433076/download .
58
   Plea Agreement See https://www.justice.gov/usao-dc/case-multi-defendant/file/1433071/download .

                                                                                                                                                         15
                           Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 17 of 21

 21-cr-120   Scott Kevin     18 U.S.C.           • Traveled to Washington, D.C. to attend the “Stop the Steal”    Pled guilty to Obstruction of
             Fairlamb        231(a)(3):            rally on January 6, 2021                                       an Official Proceeding in
 (D. D.C.)                   Certain Acts                                                                         violation of 18 USC
                             During Civil        • Fairlamb shoved and punched officer on the West Front of the   1512(c)(2) and Assaulting a
                             Disorder              Capitol.                                                       Federal Officer in violation
                                                 • Fairlamb entered the Capitol with an unlawful weapon (police   of 18 U.S.C. 111(a)(1). 60
                             18 U.S.C.             baton).
                             111(a)(1):                                                                           Sentence:
                             Assaulting a        • Fairlamb recorded himself holding the police baton saying,     Not yet sentenced following
                             Federal Officer       “What Patriots do? We fuckin’ disarm them and then we          guilty plea. Estimated
                                                   storm the fuckin’ Capitol.” 59                                 Offense Level is 22. Criminal
                             18 U.S.C.                                                                            History I. 61
                             1752(a)(1)-(4):
                             Knowingly
                             Entering o in any
                             Restricted
                             Building or
                             Grounds Carrying
                             a Dangerous
                             Weapon

                             18 U.S.C.
                             1752(b)(1)(A):
                             Knowingly
                             Entering or
                             Remaining in any
                             Restricted
                             Building or
                             Grounds Without
                             Lawful Authority
                             Carrying a
                             Dangerous
                             Weapon

                             40 U.S.C.
                             5104(e)(2):
                             Violent Entry and
                             Disorderly
                             Conduct on
                             Capitol Grounds



59
     Id.

                                                                                                                                              16
                               Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 18 of 21



 21-cr-461     Devlyn            18 U.S.C. §§         • Thompson was captured on video assaulting a law                  Pled guilty to Assaulting,
               Thompson          111(a)(1) and (b):     enforcement officer with a baton at the entrance of the          Resisting, or Impeding
 (D. D.C.)                       Assaulting,            Capitol.                                                         Certain Officers Using a
                                 Resisting, or                                                                           Dangerous Weapon, in
                                 Impeding Certain     • Yelled at officers “You wanna fight, let’s fight! One on one.”   violation of 18 U.S.C. §§
                                 Officers Using a                                                                        111(a)(1) and (b). 62
                                 Dangerous
                                 Weapon, in                                                                              Sentence:
                                 violation of                                                                            Not yet sentenced following
                                                                                                                         guilty plea. Estimated
                                                                                                                         Offense Level is 23. Criminal
                                                                                                                         History I. 63




60
   Plea Agreement ECF No. 38
61
   Id.
62
   Plea Agreement ECF No. 9.
63
   Id.

                                                                                                                                                      17
                                Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 19 of 21

                                 CASES INVOLVING SIGNIFICANTLY MORE SERIOUS CONDUCT


 Case
                Defendant             Charge(s)                                    Key Facts                                      Disposition
Number


 20-cr-183     Ty Garbin           Kidnapping            • One of men charged with conspiring to kidnap Gretchen            Kidnapping Conspiracy in
                                   Conspiracy in           Whitmer, governor of Michigan.                                   violation of 18 U.S.C.
 (W.D.                             violation of 18                                                                          § 1201(a)
 Michigan)                         U.S.C. § 1201(a)      • Leader of militia group Wolverine Watchmen
                                                         • Attended several “field training exercises” of Wolverine         Sentence:
                                                           Watchmen members where group practiced combat tactics,           75 months imprisonment, 3
                                                           including assaulting motor vehicles using semiautomatic          years supervised release
                                                           rifles and live ammunition, practiced assaulting a building in   including 5K motion 66
                                                           teams, and discussed tactics for fighting Governor’s security
                                                           detail with IEDs, a projectile launcher, and other weapons.
                                                           Attempted to detonate two improvised explosive devices. 64
                                                         • In encrypted messages, suggested taking down highway
                                                           bridge near Governor’s vacation home would hinder law
                                                           enforcement response.
                                                         • Conducted nighttime surveillance of Governor’s vacation
                                                           home using two-way radios and night vision scope.
                                                         • Met with undercover agent to make payment towards
                                                           explosives and other supplies
                                                         • Co-conspirators purchased explosives, detonated explosives
                                                           containing shrapnel to assess effectiveness, purchased high
                                                           voltage stunning device. 65




64
   ECF No. 86, at 3. (Indictment).
65
   Plea agreement, ECF No. 142
66
   Judgment, U.S. v. Ty Garbin, No. 20-183 (W.D. Mich.), ECF No. 300.

                                                                                                                                                       18
                              Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 20 of 21

19-cr-488   Richard Holzer      18 U.S.C. §          • Self-declared skinhead and former member of the KKK             Pled guilty to attempt to
                                247(a)(2) and                                                                          Obstruct Persons in the
(D.                             (d)(3): Attempt to   • Promoted white supremacy ideology.                              Enjoyment of Their Free
Colorado)                       Obstruct Persons                                                                       Exercise of Religious Beliefs
                                                     • Planned attack on the Temple Emanuel Synagogue using
                                in the Enjoyment       pipe bombs and dynamite.                                        Through Force and Use of
                                of Their Free                                                                          Explosives and Fire.
                                Exercise of          • Accepted inert bombing devices from undercover agent.
                                Religious Beliefs                                                                      Sentence:
                                                     • Collected supplies for use in the attack- including gloves, a
                                Through Force                                                                          235 months, 15 years
                                                       mask, and white supremacy paraphernalia. 67
                                and Use of                                                                             supervised release. 68
                                Explosives and
                                Fire

                                18 U.S.C. §
                                844(i): Attempt
                                to Maliciously
                                Damage and
                                Destroy, by
                                Means of Fire
                                and Explosives, a
                                Building Used in
                                Interstate
                                Commerce


19-cr-35    Demetrius Pitts     18§2339B(a)(1):      • Government sought terrorism enhancement. 69                     Pled guilty to all three
                                Attempting To                                                                          counts.
(N.D.                           Provide Material     • Expressed interest in joining al Qaeda and training to
Ohio)                           Support Or             conduct a US attack.                                            Sentence:
                                Resources To A       • Planned to commit 4th of July terrorist attack with an          168 months imprisonment
                                Foreign Terrorist      undercover agent.                                               and lifetime supervision. 71
                                Organization
                                                     • Surveyed downtown Cleveland and plotted attack on a
                                18§871(a):             firework display.
                                Threats Against
                                The President        • Planned to travel to Philadelphia to detonate a truck
                                                       bombing on federal buildings. 70
                                18§879(a)(2):
                                Threats Against
                                Immediate
                                Family Members
                                Of The President



                                                                                                                                                      19
                             Case 8:20-cr-00033-TDC Document 181-1 Filed 10/12/21 Page 21 of 21



 19-cr-172    Jessica            18:1366(a)          • Government sought terrorism enhancement. 72                  Pled guilty to Conspiracy to
              Reznicek           Conspiracy to                                                                      Damage an Energy Facility
 (S.D.                           Damage an           • Conspired with individuals to damage the Dakota Access       in violation on 18 U.S.C. §
 Iowa)                           Energy Facility       Pipeline (DAPL).                                             1366(a)
                                                     • Destroyed equipment and infrastructure associated with the
                                 18:844(h) Use of      DAPL.
                                 Fire in the
                                 Commission of a     • Set multiple fires near pipeline instrumentation and         Sentence:
                                 Felony (4 counts)     equipment.                                                   96 months imprisonment, 3
                                                                                                                    years supervised release, and
                                 18:844(i)                                                                          $3,198,512.70 in
                                 Malicious Use of                                                                   restitution. 73
                                 Fire (4 counts)




67
   Complaint, ECF No. 1.
68
   Judgment, ECF No. 79.
69
   Government’s Sentencing Memorandum, ECF No. 42.
70
   Criminal Complaint, ECF No. 1.
71
   Judgment ECF, No. 44.
72
   Government’s Sentencing Memo, ECF No. 130.
73
   Judgment, ECF No. 135.

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